     Case 24-10246-JCM              Doc 9-1 Filed 05/22/24 Entered 05/22/24 15:39:54                              Desc BNC
                                    PDF Notice: Notice Recipients Page 1 of 1
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15715718 Mercy Health/St. Elizabeth Hospital         1044 Belmont Avenue          Youngstown, OH 44504
15715719 Midland Credit Management Inc.           P.O. Box 2004         Warren, MI 48090−2004
15715720 Penn Credit Corp.         2800 Commerce Drive           Harrisburg, PA 17110
15715721 Shenango Township Municipal Authority             P.O. Box 266        West Middlesex, PA 16159
15715722 Synchrony Bank/PayPal Mastercard           P.O. Box 71782          Philadelphia, PA 19176−1782
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